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AO 88B (Rev. 12/13) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                        Southern District
                                                       __________ Districtofof
                                                                             New  York
                                                                               __________
           THE NEW YORK TIMES COMPANY                                         )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. 1:23-cv-11195-SHS
 MICROSOFT CORPORATION, OPENAI, INC., et al.                                  )
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To:                                                       Anthropic, PBC
                             c/o Corporation Service Company, 251 Little Falls Drive, Wilmington, DE 19808
                                                       (Name of person to whom this subpoena is directed)

    ✔
    u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: See Attachment A



 Place: Susman Godfrey LLP                                                              Date and Time:
           One Manhattan West, 50th Floor                                                                    01/06/2025 9:00 am
           New York, NY 10001

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:         12/03/2024

                                  CLERK OF COURT
                                                                                            OR
                                                                                                                      /s/ Ellie Dupler
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)
THE NEW YORK TIMES COMPANY                                              , who issues or requests this subpoena, are:
Ellie Dupler, 1900 Avenue of the Stars, Los Angeles CA 90067, edupler@susmangodfrey.com, 310-789-3107

                                Notice to the person who issues or requests this subpoena
A notice and a copy of the subpoena must be served on each party in this case before it is served on the person to whom
it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 12/13) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 1:23-cv-11195-SHS

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
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AO 88B (Rev. 12/13) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK

 THE NEW YORK TIMES COMPANY,
                         Plaintiff,                            Civil Action No. 1:23-cv-11195

                            v.
 MICROSOFT CORPORATION, OPENAI, INC.,
 OPENAI LP, OPENAI GP, LLC, OPENAI, LLC,
 OPENAI OPCO LLC, OPENAI GLOBAL LLC,
 OAI CORPORATION, LLC, and OPENAI
 HOLDINGS, LLC,

                         Defendants.

           ATTACHMENT A TO DOCUMENT SUBPOENA TO ANTHROPIC

       Pursuant to Rule 45 of the Federal Rules of Civil Procedure, Plaintiff in the above-

captioned civil action command You to produce the materials described below, on or before

January 6, 2025, at the location shown on the attached subpoena. Plaintiff is also amenable to an

electronic production.

                                          DEFINITIONS

   1. “Action” means the above captioned litigation, The New York Times Company v.

       Microsoft Corporation et. al., Case No. 1:23-cv-11195-SHS-OTW (S.D.N.Y.).

   2. “You” and “Your” refers to Anthropic PBC.

   3. The term “Anthropic PBC” includes Anthropic PBC and any of its directors, officers,

       employees, partners, members, representatives, agents (including attorneys, accountants,

       consultants, investment advisors or bankers), and any other person acting or purporting to

       act on their behalf, as well as corporate parents, subsidiaries, affiliates, predecessor entities,




                                                   1
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    successor entities, divisions, departments, groups, acquired entities, related entities, or any

    other entity acting or purporting to act on their behalf.

 4. “Anthropic” means “Anthropic PBC.”

 5. “The Times” or “The New York Times” means Plaintiff The New York Times Company,

    its subsidiaries, affiliates, divisions, predecessors in interest, successors, or assignees, and

    their respective officers, directors, employees, consultants, representatives, and agents.

 6. “Microsoft” means Microsoft Corporation, any of its directors, officers, employees,

    partners, members, representatives, agents (including attorneys, accountants, consultants,

    investment advisors or bankers), and any other person acting or purporting to act on their

    behalf, as well as corporate parents, subsidiaries, affiliates, predecessor entities, successor

    entities, divisions, departments, groups, acquired entities, related entities, or any other

    entity acting or purporting to act on their behalf.

 7. “OpenAI” means OpenAI, Inc., OpenAI GP, LLC, OpenAI, LLC, OpenAI OPCO LLC,

    OpenAI Global LLC, OAI Corporation, LLC, OpenAI Holdings, LLC, and any of their

    directors, officers, employees, partners, members, representatives, agents (including

    attorneys, accountants, consultants, investment advisors or bankers), and any other person

    acting or purporting to act on their behalf, as well as corporate parents, subsidiaries,

    affiliates, predecessor entities, successor entities, divisions, departments, groups, acquired

    entities, related entities, or any other entity acting or purporting to act on their behalf.

 8. “Defendants” means the Defendants in this Action, OpenAI and Microsoft, as defined

    above.




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 9. “AI Model(s)” means a component of an information system and/or large language model

    that implements artificial intelligence (“AI”) technology or uses computational, statistical,

    or machine-learning techniques to produce outputs from a given set of inputs.

 10. “Generative AI Models(s)” means AI Models that emulate the structure and characteristics

    of input data in order to generate derived synthetic content, such as images, videos, audio,

    text, and other digital content. Generative AI Models include Anthropic’s Generative AI

    Models, such as Claude Haiku, Claude Sonnet, Claude Opus, and all other versions of

    Claude. Generative AI Models also include Defendants’ Generative AI Models, such as

    GPT base, GPT-1, GPT-2, GPT-3, GPT 3.5, GPT-4, GPT-4 Turbo, GPT-4o, and MAI-1.

 11. “Generative AI Product(s) and Service(s)” means any publicly available or commercial

    product or service offering that includes or is built on a Generative AI Model. Generative

    AI Products and Services include Anthropic’s Generative AI Products and Services, such

    as Claude. Generative AI Products and Services also include Defendants’ Generative AI

    Products and Services, such as Microsoft Copilot, ChatGPT, Browse with Bing, and

    SearchGPT.

 12. “Journalism” means the activity of writing or creating content for newspapers, magazines,

    news websites, mobile applications, television, podcasts, or any other publication and/or

    news outlet, and includes the work of The Times as alleged in the First Amended Complaint

    in the Action.

 13. “Communication” means the conveyance (in the form of facts, ideas, thoughts, opinions,

    data, inquiries or otherwise) of information and includes correspondence, memoranda,

    reports, presentations, face-to-face conversations, telephone conversations, text messages,

    instant messages, voice messages, negotiations, agreements, inquiries, understandings,

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    meetings, letters, notes, mail, email, exchanges of recorded information, and postings of

    any type. Communications includes instances where one party disseminates information

    that the other party receives but does not respond to.

 14. “Concern” or “Concerning” means to be the subject of, make reference to, comment on,

    discuss, describe, identify, or contain text or images about the stated topic.

 15. “Documents” means all materials within the full scope of Federal Rule of Civil Procedure

    34 including all writings and recordings, including the originals, drafts and all non-

    identical copies, whether different from the original by reason of any notation made on

    such copies or otherwise (including email and attachments, correspondence, memoranda,

    notes, diaries, statistics, letters, telegrams, minutes, contracts, reports, studies, checks,

    statements, tags, labels, invoices, brochures, periodicals, receipts, returns, summaries,

    pamphlets, books, interoffice and intra-office communications, instant messages, chats,

    offers, notations of any sort of conversations, working papers, applications, permits, file

    wrappers, indices, telephone calls, meetings or printouts, teletypes, telefax, invoices,

    worksheets, and all drafts, alterations, modifications, changes and amendments of any of

    the foregoing), graphic or aural representations of any kind (including photographs, charts,

    microfiche, microfilm, videotape, recordings, motion pictures, plans, drawings, surveys),

    and electronic, mechanical, magnetic, optical, or electric records or representations of any

    kind (including computer files and programs, tapes, cassettes, discs, and recordings),

    including metadata.

 16. “Including” means including but not limited to.


                                     INSTRUCTIONS

 1. Please produce each Document requested herein in its entirety and without deletion or
                                              4
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       excisions, regardless of whether You consider the entire document to be relevant or

       responsive.

   2. If any Document is known to have existed but no longer exists, has been destroyed, or is

       otherwise unavailable, please identify the Document, the reason for its loss, destruction, or

       unavailability, the name of each person known or reasonably believed by You to have had

       possession, custody, or control of the original and any copy thereof (if applicable), and a

       description of the disposition of each copy of the Document.

   3. If no Documents responsive to a particular request exist, please state that no responsive

       Documents exist.

   4. Construe the conjunctions “and” and “or” non-restrictively or nonexclusively if doing so

       would bring within the scope of these Requests Documents that might otherwise be

       construed to be outside of their scope.

   5. Construe the use of the singular to include the plural; the use of the masculine, feminine,

       or neuter gender to include the others; and the use of one form of the verb to include the

       others if doing so would bring within the scope of these Requests Documents that might

       otherwise be construed to be outside of their scope.

                                  DOCUMENT REQUESTS

REQUEST 1:

       Documents and communications concerning negotiations between Anthropic and content

owners over Anthropic’s use of content in Anthropic’s Generative AI Models and Anthropic’s

Generative AI Products or Services.

REQUEST 2:

       Licensing agreements with content owners relating to Anthropic’s use of content in

                                                 5
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Anthropic’s Generative AI Models and Anthropic’s Generative AI Products or Services.

REQUEST 3:

       Documents and communications concerning Anthropic’s licensing or use of (i)

Defendants’ Generative AI Models or (ii) search indices used to ground Anthropic’s Generative

AI Products or Services.



Dated: December 3, 2024                   /s/ Ian Crosby

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                                             6
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                                  CERTIFICATE OF SERVICE

         I declare that I am employed with the law firm of Susman Godfrey L.L.P., whose

address is 1900 Avenue of the Stars Suite 1400, Los Angeles, CA 90067. I am not a party to

the within cause, and I am over the age of eighteen years.


         I further declare that on December 3, 2024, I served a copy of:


                                            XXXXXXXX



     ց      BY ELECTRONIC SERVICE [Fed. Rule Civ. Proc. Rule 5(b)(2)(E)] by electronically
            mailing a true and correct copy through Susman Godfrey L.L.P.’s electronic mail system
            to the email address(es) set forth below, or as stated on the attached service list per
            agreement in accordance with Fed. Rule Civ. Proc. Rule 5(b)(2)(E).

     տ      BY PERSONAL SERVICE I caused to be delivered such envelope by hand to the offices
            of the addressee.


                                            See Attached Service list



         I declare under penalty of perjury that the following is true and correct.

         Executed at Los Angeles, California, this 3rd day of December, 2024.




                                               /s/ Ellie Dupler
                                                Ellie Dupler
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                                        SERVICE LIST

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